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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA
    Mehrangiz Kar and Azadeh Pourzand,

                                     Plaintiffs,

                          vs.                            Case Number: 1:19-cv-02070-JDB

    The Islamic Republic of Iran et al.;

                                     Defendants.



                                DECLARATION OF DREWERY DYKE

I, Drewery Dyke declare as follows:

      1. I am a dual Canada-United Kingdom national and reside in London, United Kingdom. I
         maintain, at the time of writing, a moderately active public profile, including on Twitter
         and in relation to part-time roles I fulfill with human rights-focused NGOs such as Salam
         for Democracy and Human Rights.1
      2. Between 1999-2017 I worked as a Researcher in Amnesty International’s International
         Secretariat, where I researched and produced human rights-focused campaign and
         advocacy material on Iran and other countries according to my country and thematic
         portfolio assignment. I have published, in my name and under pseudonyms, commentary
         on political and human rights issues in Turkey, Iran, Saudi Arabia and Bahrain as well as
         other parts of the Middle East and have undertaken short-term contractual work (e.g., for
         UNESCO) translating Iranian government documentation into English.
      3. Between 14 -16 June, 2004 I visited Tehran, Iran as a member of the NGO component of
         a European Union delegation. The visit was part of the then EU-Iran Human Rights
         Dialogue.2
      4. On 15 or 16 June 2004, I visited Siamak Pourzand in a hospital in Tehran. Two photos
         (See Exhibit A) were taken of the visit. At the time of writing, I do not recall the name of
         the hospital nor how I know at which hospital he was being kept.
      5. On account of my role as the Iran Researcher at Amnesty International, I was well-
         acquainted with Siamak Pourzand’s plight and experience. I wrote, for example, the first
         Amnesty International Appeal3 on 27 November 2001, in relation to Iranian officials’

1
  See, for example, the June 2020 Report I authored on behalf of Ceasefire Centre for Civilian Rights and Minority
Rights Group, “In the Name of Security: Human Rights Violations Under Iran’s National Security Laws.”
https://www.ceasefire.org/wp-content/uploads/2020/06/In-the-Name-of-Security_Iran_EN_June20.pdf
2
  See, for example, Human Rights Watch – Iran: Europe needs a tougher stance, 9 June 2004, accessed 19 March
2021 at: https://www.hrw.org/news/2004/06/09/iran-europe-needs-tougher-stance or the European Parliament’s June
2007 assessment: https://www.europarl.europa.eu/RegData/etudes/note/join/2007/381396/EXPO-
DROI_NT(2007)381396_EN.pdf
3
  “Iran: Dissapearance/ Possible Extrajudicial Execution, Siamak Pourzand,” Amnesty International, 27 November
2001, https://www.amnesty.org/en/documents/MDE13/046/2001/en/.
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       arbitrary arrest of Siamak Pourzand. At the time, I was in contact with, mainly, Lily
       Pourzand and, to a lesser extent, Banafsheh Zand-Bonazzi. Later, I was also in contact
       with Azadeh Pourzand. I researched and wrote Amnesty International’s five subsequent
       documents4 relating to Siamak Pourzand. These five exclude references in Amnesty
       International’s annual reports.5
    6. Separately, as part of my work at the time, in the course of 2000 and 2001, I had been in
       contact with Siamak Pourzand’s wife, the lawyer and human rights activist, Mehrangiz
       Kar. I met with her for the first time in Berlin, in April 2000, in the context of a
       conference on Iranian politics hosted by the Heinrich Böll Foundation.

The following part of this statement sets out (7) other, credible sources relating to Siamak
Pourzand’s plight; and (8) some recollections about my June 2004 visit with Siamak Pourzand
and (9) my assessment of individual and state conduct towards Siamak Pourzand and others.

    7. A detailed timeline of the Government of Iran’s (GoI) arbitrary arrest and detention,
       unfair trial, torture and ill treatment of Siamak Pourzand can be built upon the documents
       I wrote at the time for Amnesty International, but also upon other, credible, well-
       documented and sourced human rights research, including that issued by Human Rights
       Watch, such as the 12 March, 2002 statement, Iran: “Trial” a Mockery of the Law6 and,
       in particular, the Iran Human Rights Documentation Center’s 4 February 2011 report
       entitled Mockery of Justice - The Framing of Siamak Pourzand7, as well as Iran-based
       news reports at the time. A timeline of the administration of justice in Siamak Pourzand’s
       case shows, I believe, that the purported case against him was politically motivated and
       was one in which the GoI treated him not for what the authorities alleged that he did but
       rather who he was, that is, his identity.
    8. The manner of Siamak Pourzand’s death was so exceptional that Amnesty International,
       exceptionally, posted to the internet, on 6 May 2011, a personal statement written by me
       and entitled Siamak Pourzand: Persecuted to death, harassed after death8. It was, to the
       best of my recollection, the first time I had commented publicly on my June 2004 visit
       with Siamak Pourzand. He was not, as I recall, aware that I was going to visit (though it
       is possible that Azadeh or Lily managed to reach him to let him know - I did not recall),
       and due to his treatment, he may not have been there, but he was. In 2011, I wrote that he
       was wrapped from head to toe in gauze. This was - again, as I recall - to prevent his blood

4
  See Amnesty International, https://www.amnesty.org/en/search/?q=siamak+pourzand.
5
  See, for example, Amnesty International - Annual Report 2003 (covering events in 2002), in the Iran entry, where
it states: Siamak Pourzand, aged 72, was sentenced to 11 years' imprisonment in April following an unfair trial. He
had reportedly admitted to a range of accusations, including “having links with monarchists and
counterrevolutionaries” and “creating disillusionment among young people”. Also in April he made a televised
“confession”. The same month he reportedly suffered a heart attack and may have been denied effective medical
treatment. AI feared that he was coerced into not lodging an appeal against the sentence, which was upheld in early
July. He continued to be held in a secret location until his temporary release in December [2002], accessed 19
March 2021 at: https://www.amnesty.org/download/Documents/POL1000032003ENGLISH.PDF
6
  “Iran: ‘Trial’ a Mockery of the Law, Human Rights Watch, March 12, 2002.
https://www.hrw.org/news/2002/03/12/iran-trial-mockery-law#.
7
  “Mockery of Justice: The Framing of Siamak Pourzand,” Iran Human Rights Documentation Centre, February 4,
2011, https://iranhrdc.org/mockery-of-justice-the-framing-of-siamak-pourzand/.
8
  “Siamak Pourzand: Persecuted to Death, Harassed After Death,” Amnesty International, 6 May 2011,
https://www.amnesty.org/en/latest/campaigns/2011/05/siamak-pourzand-persecuted-to-death-harassed-after-death/.
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        pressure from dropping and to manage his multitude of ailments. He looked extremely
        weak, not only because of his advanced age, even at that time, but he was, rather,
        suffering from a long list of severe medical complications arising from his treatment (and
        the absence of adequate medical attention and care), including in connection with his
        heart and an acute spinal condition. Siamak Pourzand was suffering from enduring years
        of physical and mental torture in Evin Prison. The cocktail of medicines that he took
        constituted, in retrospect, a palliative against the fundamental ‘illness’ of the manner in
        which the GoI treated him. When I arrived and I introduced myself, he exerted himself to
        make me feel ‘at home’ in keeping with the graciousness of a distinguished gentleman
        receiving guests at his home. In 2011, I noted that he was clearly in pain and discomfort
        and yet this appeared to be overtaken by his thirst to ask and learn about current
        developments in politics. As I noted in 2011, a former cellmate - a supporter of
        constitutional monarchy - stopped by to pay his own respects to the distinguished
        journalist and patron of the arts, and they talked about mutual friends and the prospect for
        change - however small, or local it could be. Later, too, a sister visited. She was very shy
        but his ease with me appeared to coax from her a feeling that she could also relax: like so
        many families in Iran at the time, one could never be sure about who other people were in
        the same room. In what I saw of his engagement with his sister at the hospital and how he
        spoke about Banafsheh, Lily and Azadeh as well as Mehrangiz Kar, he appeared at the
        time devoted to his family; they certainly seemed to be a source of strength for him. As I
        wrote in 2011, he was quick to smile and make light of what was a grave situation. In
        short, he exhibited the dignity and honour in measures that exceeded the absence of such
        qualities in terms of how the GoI had treated him.
     9. The GoI is a state party to, inter alia, the International Covenant on Civil and Political
        Rights.9 Yet, the laws and practices governing the administration of justice shaped - in
        broad measure - the officials’ conduct towards him during the successive injustices
        Siamak Pourzand faced. Agents of the GoI subjected him to:
            ● Arbitrary arrest
            ● Arbitrary detention
            ● Cruel, inhuman and degrading treatment
            ● Torture and other forms of ill treatment, including of a psychological character
    9.1 One (of a variety) of interpretations as to who could held responsible for the
        internationally recognised violations of human rights standards, as well as violations in
        terms of the GoI’s own Constitution, could be the qazi-ye parvandeh, the case judge,
        Sabir Zafarqandi.10 Article 171 of the Constitution places, rightly or wrongly, the burden
9
  “International Covenant on Civil and Political Rights,” The United Nations Human Rights Office of the High
Commissioner, https://www.ohchr.org/en/professionalinterest/pages/ccpr.aspx.
10
   Parliament of Iran - Constitution, accessed 20 March 2021 at: https://en.parliran.ir/eng/en/Constitution - The
relevant articles cited here are: Article 168 - Political and press offences will be tried by jury in open courts. The
manner of the selection of the jury, its qualifications and powers, and the definition of political offences, will be
determined by law in accordance with Islamic criteria; Article 170 - Judges are obliged to refrain from enforcing
the government’s decrees and regulations that are in conflict with Islamic laws and norms, or which lie outside the
competence of the Executive. Everyone has a duty to demand the annulment of any such regulation from the Court
of Administrative Justice; Article 171 - Whenever an individual suffers moral or material harm or loss as a result of
a judge’s default or error regarding the subject matter of a case, or the law applicable, or in the application of law
to a particular case, the defaulting judge is liable for the reparations in accordance with Islamic criteria.
Otherwise, losses will be compensated by the State, and in all such cases, the repute and good standing of the
accused will be restored.
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     of redress squarely upon judges. Insofar as the conduct meted out to Siamak Pourzand
     did, in fact, deviate from the treatment provided for under law - including international
     human rights laws - at the time of his arrest and detention, the case judge could be seen as
     having failed to adhere to Article 170 of the Constitution. Article 168 provides, in
     addition, for trial in an open court in respect to allegations of a political nature.
9.2 The moral, ethical and legal facets of the conduct of individual GoI agent towards Siamak
     Pourzand notwithstanding, I believe that an analysis in the round regarding the conduct of
     agents - including those with arresting power, prosecutorial and judicial functions -
     towards scores of cases, indeed whole categories of cases would reveal that the treatment
     faced by Siamak Pourzand was structural and, in effect, systematic in nature. In other
     words, I suggest that institutions under the formal or effective control of the Office of the
     Supreme Leader, at least at that time, treated categories of people in the same way as they
     did Siamak Pourzand, and therefore responsibility for the implementation of such policies
     falls on the shoulders of the Office of the Supreme Leader and the Supreme Leader
     himself.
 10. The GoI’s failure to possess dignity and its drive to harass Siamak Pourzand extended
     even beyond his passing. On the morning of 5 May 2011, friends and family had gathered
     at the Nour Mosque in Fatemi Square, Tehran for the funeral service when security
     officials prevented the ceremony from taking place. While I no longer conduct daily
     research on the human rights situation in Iran, evidence arising from my June 2020 report
     (see above) as well as a casual perusal of the output of Iran-focused human rights
     organisations indicates that analogous injustice continues in Iran today. The GoI
     continues to hold and ill-treat political prisoners and its agents’ conduct appears to
     constitute a structural, systematic violation of international human rights standards. There
     is a growing sense, even in wider society, it seems to me, that the GoI and specific
     political figures or officials must be held accountable.
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I declare and can competently testify under penalty of perjury that the foregoing is true and
correct.

                                                                    Executed this 22 June, 2021.



                                                                    ___________________
                                                                    Drewery Dyke
